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                      United States Court of Appeals
                                 FOR THE DISTRICT OF COLUMBIA CIRCUIT
                                          ____________


No. 24-1193                                                     September Term, 2024
                                                                               EPA-89FR39124
                                                       Filed On: February 24, 2025 [2102403]
Chamber of Commerce of the United
States of America, et al.,

                   Petitioners

         v.

Environmental Protection Agency and Lee
M. Zeldin, in his official capacity as
Administrator, United States Environmental
Protection Agency,

                   Respondents

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Clean Cape Fear, et al.,
                   Intervenors
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Consolidated with 24-1261, 24-1266,
24-1271, 24-1272

                                             ORDER

         Upon consideration of respondents’ motion to hold cases in abeyance, it is

     ORDERED that the motion be granted, and these cases are hereby held in
abeyance pending further order of the court.

       The respondents are directed to file motions to govern future proceedings in
these cases on April 25, 2025.

                                                              FOR THE COURT:
                                                              Clifton B. Cislak, Clerk

                                                      BY:     /s/
                                                              Michael C. McGrail
                                                              Deputy Clerk
